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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                               Case No. 2:17-cr-99-FtM-38CM

WILLIAM PIERCE
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                                 ORDER OF FORFEITURE

       The defendant pleaded guilty to Count One of the Information which charges him

with conspiracy to pay healthcare kickbacks affecting a Federal health care benefit

program, in violation of 18 U.S.C. § 371, and the United States has established that the

defendant obtained $803,007.25 in proceeds as a result of the offense.

       The United States moves under 18 U.S.C. § 982(a)(2), and Rule 32.2(b)(2),

Federal Rules of Criminal Procedure, to forfeit the $803,007.25 in proceeds the defendant

obtained as a result of the conspiracy to pay healthcare kickbacks.         The motion is

GRANTED. The United States is entitled to forfeit the $803,007.25 in proceeds.

       Because the $803,007.25 in proceeds was dissipated by the defendant, the United

States may seek, as a substitute asset, pursuant to 21 U.S.C. § 853(p), forfeiture of any

of the defendant’s property up to the value of $803,007.25. Jurisdiction is retained to

enter any order necessary for the forfeiture and disposition of any substitute asset and to

address any third-party claim.

       DONE and ORDERED in Fort Myers, Florida, this 6th day of November, 2017.




Copies to: All Parties/Counsel of Record
